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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                v.
                                                    Crim. No. 17-201-2 (ABJ)
 RICHARD W. GATES III,

                     Defendant.

            GOVERNMENT’S CONSENT MOTION FOR EXTENSION OF TIME
                    AND FOR LEAVE TO FILE UNDER SEAL

       COMES NOW, the United States of America, by and through the United States Attorney

for the District of Columbia, and files this consent motion to respectfully request that the Court

grant the government a one-day extension of time to file its Motion for a Downward Departure

and Memorandum in Aid of Sentencing, and for leave to file under seal a supplemental motion

related to Mr. Gates’ sentencing.

       1.       On February 28, 2018, the defendant, Richard W. Gates III, pled guilty pursuant to

a cooperation plea agreement. Since that time, he has cooperated extensively with several different

offices within the Department of Justice.

       2.       By minute order on November 15, 2019, the Court set Mr. Gates’ sentencing for

December 17, 2019, and made Sentencing Memoranda due December 9, 2019.

       3.       The government is continuing to gather materials for the Government’s Motion for

a Downward Departure and Memorandum in Aid of Sentencing, and with the Court’s leave, also

plans to file under seal a supplemental motion regarding Mr. Gates’ assistance that contains

sensitive information related to ongoing criminal matters.
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       4.       The government respectfully requests a one-day extension of time to file its Motion

for a Downward Departure and Memorandum in Aid of Sentencing, and also moves this Court for

leave to file under seal its supplemental motion. Mr. Gates consents to the government’s requests.


                                              Respectfully submitted,

                                              JESSIE K. LIU
                                              UNITED STATES ATTORNEY

                                                      /s/
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                                              Washington, D.C. 20530
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.
                                                   Crim. No. 17-201-2 (ABJ)
 RICHARD W. GATES III,

                   Defendant.

                                        [PROPOSED]
                                          ORDER

       Upon consideration of the government’s Consent Motion for Extension of Time and For

Leave to File Under Seal, and for good cause shown, it is hereby

       ORDERED that the government must file its sentencing memorandum by December 10,

2019, and

       ORDERED that the government may file under seal its supplemental motion.



DATED:
                                                   The Honorable Amy Berman Jackson
                                                   United States District Judge
